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                        United States District Court
                        Northern District of Georgia
                            Gainesville Division


Fair Fight, Inc., Scott Berson, Jocelyn
Heredia, and Jane Doe,

                                Plaintiffs,

      v.
                                              Civ. No. 2:20-cv-00302-SCJ
True the Vote, Inc., Catherine
Engelbrecht, Derek Somerville, Mark           Hon: Steve C. Jones
Davis, Mark Williams, Ron Johnson,
James Cooper, and John Does 1-10,

                              Defendants.


      Brief in Support of Defendants’ Motion for Summary Judgment




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                                    Introduction

      Defendants True the Vote, Inc. (“TTV”), Catherine Engelbrecht, Derek

Somerville, Mark Davis, Mark Williams, Ron Johnson, and James Cooper

(collectively, “Named Defendants”) did not violate Section 11(b) of the Voting

Rights Act of 1965. When this Court denied Plaintiffs’ preliminary motion for

injunctive relief, it stated, “[a]fter careful review and consideration of the evidence

and arguments, the Court finds that Plaintiffs have not provided enough evidence

at this point to show that they are likely to succeed on the merits of their claims.

Most critically, the evidence provided to date does not show that Defendants have

harassed or intimidated voters.” Order, ECF No. 29 at 26. After sixteen months,

during which parties have produced voluminous amounts discovery, including 11

depositions and two expert reports, nothing has changed—the Plaintiffs still have

no evidence that any Named Defendant harassed or intimidated voters.

      The undisputed facts show that Named Defendants never contacted

Challenged Voters directly; that they carefully analyzed the data underlying their

Voter Challenges, and that they submitted Voter Challenges in accordance with

Georgia law. They never threatened legal, economic, or physical harm to any


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Challenged Voter. Their purpose was clear and lawful: alert the proper

government officials charged with ensuring free and fair elections in Georgia that

the Challenged Voters may not have been legally eligible to cast ballots in the

2021 Senate Run-off Election in an effort to prevent vote dilution of those voters

who were legally eligible to cast ballots in that election.

      The Named Defendants would have no problem if 100% of the people

legally eligible to vote in Georgia elections did so, even if their preferred

candidates were defeated. In the words of Mr. Davis, “that actually is a fair fight.”

                                      Argument

                 Motion for Summary Judgment Legal Standard

      Federal Rule of Civil Procedure 56(a) provides “[t]he court shall grant

summary judgment if the movant shows that there is no genuine dispute as to any

material fact and the movant is entitled to judgment as a matter of law.”

A factual dispute is genuine if the evidence would allow a reasonable jury to find

for the nonmoving party. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248

(1986). A fact is “material” if it is “a legal element of the claim under the

applicable substantive law which might affect the outcome of the case.” Allen v.


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Tyson Foods, Inc., 121 F.3d 642, 646 (11th Cir. 1997).

      The moving party bears the initial burden of showing the court—by

reference to materials in the record—that there is no genuine dispute as to any

material fact that should be decided at trial. Celotex Corp. v. Catrett, 477 U.S.

317, 323 (1986)). The moving party satisfies this burden merely by

“‘showing’—that is, pointing out to the district court—that there is an absence of

evidence to support [an essential element of] the nonmoving party's case.” Id. at

325. The district court must determine whether the moving party has met its

burden by viewing the evidence and all factual inferences in the light most

favorable to the party opposing the motion. Johnson v. Clifton, 74 F.3d 1087, 1090

(11th Cir. 1996). Once the moving party has adequately supported its motion, the

burden shifts to the non-movant to show that summary judgment is improper by

coming forward with specific facts showing a genuine dispute. Matsushita Elec.

Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986). The court should

resolve all reasonable doubts in the non-movant’s favor. Fitzpatrick v. City of

Atlanta, 2 F.3d 1112, 1115 (11th Cir. 1993).

      The court must “avoid weighing conflicting evidence or making credibility


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determinations.” Stewart v. Booker T. Washington Ins., 232 F.3d 844, 848 (11th

Cir. 2000). A genuine dispute for trial does not exist when the record as a whole

could not lead a rational trier of fact to find for the nonmoving party. Fitzpatrick, 2

F.3d at 1115 (citations omitted).

      Cross motions for summary judgment must be considered separately, as

each movant bears the burden of establishing that no genuine issue of material fact

exists and that it is entitled to judgment as a matter of law.” 3D Med. Imaging Sys.,

LLC v. Visage Imaging, Inc., 228 F. Supp. 3d 1331, 1336 (N.D. Ga. 2017).

                 I. Defendants’ conduct does not violate § 11(b).

      The Voting Rights Act of 1965 prohibits intimidating or threatening a

person for voting or attempting to vote. 52 U.S.C. § 10307(b) (“§ 11(b)”). Courts

have held within the context of voting, intimidation and threats are not necessarily

limited to the threat of violence or bodily harm, but can include threats of

economic harm, legal action, dissemination of personal information, and

surveillance, depending on the context. Nat’l Coal. on Black Civic Participation v.

Wohl, 498 F. Supp. 3d 457, 477 (S.D.N.Y. 2020) (granting TRO against robocalls

that “warned” people voting by mail would be used by police departments, credit


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card companies, and the CDC to bring legal, economic, and physical harm to

voters). The Wohl Court relied on various legal authorities to hold “that threats

and intimidation include messages that a reasonable recipient familiar with the

context of the message would interpret as a threat of injury tending to deter

individuals from exercising their voting rights.” Id. at 477 (emphasis added).

       The contexts under which courts have found violations of § 11(b) are

varied, but they all involved more than simply asking appropriate government

authorities to ensure that people who have reported a move out of a voting district

are, in fact, still eligible to vote in that district. Since the context of an § 11(b)

claim is critical, examples of actions that rose to the level of “intimidation” under

§ 11(b) will show what type of behavior meets this definition. See Daschle v.

Thune, Decision and Order at 2, No. 4:04 Civ. 04177 (D.S.D. Nov. 1, 2004)

(finding violation when defendants followed Native Americans into polling

places, “ostentatiously making noises” behind them, discussing Native Americans

who were prosecuted for illegally voting, following them out of the polling places,

and recording their license plate numbers); see also United States v. Nguyen, 673

F.3d 1259, 1265 (9th Cir. 2012) (holding widely distributing letter among Latino


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immigrants warning them that voting could lead to their personal information

being turned over to people “against immigration” could provide basis of unlawful

intimidation); United States v. McLeod, 385 F.2d 734, 737-38 (5th Cir. 1967)

(finding § 11(b) violation when law enforcement officials stationed themselves

around voter registration meetings, recorded the information of attendees, and then

used that information to later arrest and prosecute attendees for “traffic

violations”). Economic pressure may also be considered a form of intimidation.

See, e.g., United States v. Beaty, 288 F.2d 653, 654-57 (6th Cir. 1961) (holding

eviction of sharecroppers as punishment for registering to vote constitutes

unlawful intimidation); United States v. Bruce, 353 F.2d 474, 476-77 (5th Cir.

1965) (finding unlawful intimidation when landowner restricted access to his

property for voter registration efforts).

      In virtually all of these cases where violations of § 11(b), or laws similar to

§ 11(b), were found, the defendants directly communicated the intimidating

message, or acted in an intimidating manner, to the voters themselves or to people

attempting to register voters (making robocalls to voters . . . following voters . . .

sending letters to Latino immigrants . . . using law enforcement officials to


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record who attends voter registration meetings . . . evicting people . . . and

preventing person attempting to register voters access to property). Therefore,

the courts found it “reasonable” for the direct recipients of these messages or

actions to feel intimidated by the defendants within these contexts.

      Here, the undisputed facts show Named Defendants’ actions did not come

close to the types of actions courts have found to be intimidating or threatening.

Plaintiffs have provided no evidence they stood outside polling places to

intimidate potential voters or sent threatening letters to voters. In fact, Named

Defendants had no direct contact with Challenged Voters at all. TTV Resp. to First

Rogs. No. 5; Somerville Am. Resp. and Obj. 2d Interrogs., Resp. No. 7; First

Davis Tr. 171:4-21; Williams Tr. 63:2-64:1; Johnson Resp. to First Interrogs.

Resp. No. 5; Cooper Resp. to First Interrogs. Resp. No. 5; Cooper Tr. 45:1-9;

50:13-22. Named Defendants did not publicly publish any list of Challenged

Voters. TTV Tr. 257:11-14; Second Somerville Tr. 71:16-72:19; 72:21-73:14;

Second Davis Tr. 46:3-14; 80:7-10. TTV did not create a “bounty” in order to

incentivize Challenges or accusations of voter fraud. TTV Tr. 71:11-19, 71:22-

72:1, 74:8-17, 75:5-18, 76:15-19; TTV Tr. 316:3-12; TTV Tr. 316:19-317:5; First


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Somerville Tr. 150:15-152:4. TTV did not create a hotline in order to intimidate

voters—it turned over any credible accusation of voter irregularities to the proper

government authorities. TTV Tr. 81:16-21; TTV Tr. 85:21-86:9;TTV Tr. 82:18-

21; TTV Tr. 68:16-69:7; id. 81:22-82:4; TTV Tr. 85:13-20; TTV Tr. 93:17-95:3;

TTV Am. Resp. 2d RFP Resp. No. 18; First Somerville Tr. 150:15-152:4. Named

Defendants analyzed data and/or submitted Challenges to government election

officials based upon that data as permitted under Georgia law. O.C.G.A. § 21-2-

230. Most of those Challenges were rejected and not pursued in any way by

county boards of elections. See Def TTV 1838; First Somerville Tr. 93:11-15.

Within this context, Challenged Voters were not the direct “recipients” of any of

the Named Defendants’ actions, and it would be wholly unreasonable to find

Named Defendants’ lawful actions amounted to an § 11(b) violation.

      Context is key—there has never been a Court that has held a defendant

violated § 11(b) by exercising his rights as permitted under law. This Court should

not be the first to do so. Named Defendants’ motion for summary judgment should

be granted.




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A.    Georgia law permits voter challenges.

      Georgia law permits challenges to an elector’s right to vote in a particular

election. Under Georgia law, a person may not vote in an Georgia election unless

they are “[a] resident of this state and of the county or municipality in which he or

she seeks to vote[.]” O.C.G.A. § 21-2-216(a). Accordingly, Georgia law sets out a

process for challenging an elector’s right to vote in an election, providing that:

“[a]ny elector of the county or municipality may challenge the right of any other

elector of the county or municipality, whose name appears on the list of electors,

to vote in an election. . . .” O.C.G.A. § 21-2-230(a). (“§ 230 Challenge”).

      A § 230 Challenge does not result in automatic disqualification of the

challenged voter—it simply triggers a process at the county board of registrars.

First, the Board considers the § 230 Challenge to determine if probable cause

exists to sustain it. Id. at (b). If the Board does not find probable cause exists, the

§ 230 Challenge is denied. Id. If the Board finds probable cause, the Board notifies

the poll officers of the Challenged Voter’s precinct, and if practical, notifies the

Challenged Voter in order to afford the Challenged Voter an opportunity to

answer the § 230 Challenge. Id. If the Challenged Voter appears at the polling


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place to vote, the Challenged Voter is given an opportunity to appear before the

Board and answer the grounds of the § 230 Challenge. Id. at (c). If the Board then

denies the § 230 Challenge based upon the Challenged Voter’s answer, the

Challenged Voter shall be permitted to vote in the election even if the polls have

already closed. Id. at (h). If the Challenged Voter appears at the polls to vote and

“it is not practicable to conduct a hearing prior to the close of the polls,” the

Challenged Voter may cast a provisional ballot. Id. at (i). If the § 230 Challenge is

subsequently denied, the provisional ballot will be certified along with all the

other consolidated returns for that election. Id.

      It is important to recognize that Georgia law permits two distinctly different

challenges to the ability of an ineligible elector to vote. First, the presence of the

elector on the list of electors (called under federal law “voter registration lists”)

can be challenged under O.C.G.A. § 21-2-229. The Challenges at issue in this case

were not brought under this section since the Challenges did not question the

Challenged Voters’ presence on the list of electors. Second, the eligibility of a

registered elector to vote in a particular election can be challenged under O.C.G.A.

§ 21-2-230. The current challenges were brought under this section and only


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question the challenged elector’s eligibility to vote in the run-off election and did

not seek to have the elector removed from the registration list, which, as noted, is a

separate and different challenge under Georgia law.

      After this case was initiated, the Georgia Legislature made changes to the

Georgia Election Code. Two significant changes directly impact § 230 Challenges.

First, the legislature made it clear that “[t]here shall not be a limit on the number

of persons whose qualifications such elector may challenge.” Id. at (a). (Effective

March 25, 2021). The second change to § 230, relevant here, is that “[f]ailure to

comply with the provisions of this Code section by the board of registrars shall

subject such board to sanctions by the State Election Board.” Id. at (j).

      The changes to § 230 make it clear—submitting “mass” Challenges is not

prohibited and the Boards have greater accountability to be functionally

responsive to voters who submit § 230 Challenges. Named Defendants1 submitted

      1
       TTV did not submit any § 230 Challenges as only registered voters in any
particular Georgia County may submit such Challenges. O.C.G.A. § 21-2-230.
However, TTV did compile the list of Challenged Voters at issue in this case, and
received permission to submit § 230 Challenges on behalf of individuals who
volunteered to serve as Challengers in various counties. TTV Resp. to 2d Interrog.
Resp. No. 14; TTV Tr. 255:4-256:13. Throughout this brief, the process TTV
undertook of submitting § 230 Challenges on behalf of volunteers who gave it
permission to do so will be referred to as TTV submissions, as grammatically

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§ 230 Challenges as permitted under Georgia law operative at the time, and as

bolstered by the 2021 version of the same law.

      Submitting § 230 Challenges in accordance with the letter and spirit of

Georgia law cannot provide the “context” for a violation of § 11(b). Named

Defendants did not have the authority to determine a Challenged Voter’s

eligibility to vote in the run-off election—that authority rests solely with the

appropriate government officials. O.C.G.A. § 21-2-230. They simply provided

credible, non-frivolous information to the applicable Board so that the Board

could decide, under Georgia law, whether to require Challenged Voters to provide

proof of residency based upon the § 230 Challenge submitted. TTV Tr. 342:15-

343:1:18; TTV Resp. to First Interrogs. Resp. No. 5; First Somerville Tr. First

Somerville Tr. 48:15-21; 78:6-9; Second Somerville Tr. 189:4-191:1; 56:18-

57:11; 78:6-9;189:4-191:1. Named Defendants did not seek to prevent even one

eligible voter from casting his or her ballot. See TTV Tr. 152:15-154:19; id.

169:22-170:18; Second Davis Tr. 199:9-18. Named Defendants sought to petition

their government—asking it to ensure that voters who were ineligible under the



appropriate.

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law to cast a ballot be prevented from doing so—in order to protect the rights, and

prevent vote dilution, of all the eligible voters who legally cast ballots. TTV Tr.

342:15-343:1; TTV’s Resp. First Interrogs. Resp. No. 5; First Somerville Tr.

124:1-12; 127:9-15; Second Davis Tr. 59:7-8l 86:22-87:3; 90:14-21. They had

every right to do so under Georgia law then, and continue to have that right now.

Exercising their lawful rights to government authorities, without any direct contact

with Challenged Voters, cannot support an § 11(b) violation claim.

B.    Mark Davis and Derek Somerville did not act in concert with True the
      Vote’s voter challenges.

      The First Amended Complaint alleges that Mr. Davis and Mr. Somerville

“assisted and acted in concert with True the Vote in its effort to challenge the

eligibility of hundreds of thousands of Georgians to vote.” First Am. Compl. ¶¶

20, 21. (emphasis added). Plaintiffs have alleged TTV “challenge[d] over 364,000

Georgians’ eligibility to vote and recruit[ed] Georgians to engage in its ‘ballot

security’ operation in Georgia in advance of the state’s January Senate Runoff.”

Id. at ¶ 18. Much of the rest of the First Amended Complaint’s factual allegations

describes TTV’s alleged history of meritless challenges and various “tactics”

Plaintiffs allege intimidate and suppress votes. Id. at ¶¶ 30-35; 39-41; 58-61.

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Defendants Davis’ and Somerville’s alleged actions are not mentioned in the First

Amended Complaint outside of the allegation they “acted in concert with” TTV.

Plaintiffs alleged, in their single claim, that “Defendants, by engaging in an

unprecedented effort to challenge the eligibility of hundreds of thousands of

Georgians to vote, by recruiting “citizen watchdogs” to watch voters return their

ballots, and by offering a $1 million reward to incentivize its supporters to find

evidence of “illegal voting,” have engaged in activities which are objectively

likely to intimidate voters in violation of § 11(b) of the Voting Rights Act. Id. at ¶

79.

      The undisputed facts in the record show that Mr. Davis and Mr. Somerville

did not act in concert with TTV—not on Challenges, not on the alleged “citizen

watchdogs” to watch voters return their ballots, and not on the alleged “$1 million

reward to incentivize its supporters to find evidence of ‘illegal voting.’” First

Somerville Tr. 150:15-152:4. Neither Mr. Davis nor Mr. Somerville had any

knowledge of the methodology, process, or analysis of TTV’s Challenge Lists.

First Somerville Tr. 29:5-31:17;32:20-33:4;45:3-11; 103:6-13; 157:7-15

Somerville Interrog. Resp. Ct. Order Resp. No. 1, 4; First Davis Tr. 38:22-39:14;


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41:10-42:16; 46:12-47:10; Second Davis Tr. 95:4-9; Davis Interrog. Resp. Ct.

Order Resp. No. 1. Plaintiffs have shown no evidence that Mr. Davis and Mr.

Somerville were involved in the alleged “citizen watchdogs” or the $1 million

fund, and Mr. Davis and Mr. Somerville testified to the contrary. First Somerville

Tr. 150:15-152:4. Mr. Davis and Mr. Somerville were mentioned in TTV’s

December 2020 press release because TTV was trying to generally acknowledge

the work of Georgians who were attempting to contribute to the effort of voter

integrity. Second Somerville Tr. 132:8-14.

      Besides the undisputed facts which show that Mr. Davis and Mr. Somerville

did not “act in concert” with TTV, the undisputed facts show their independent

work cannot support an § 11(b) violation claim either. Neither Mr. Davis nor Mr.

Somerville had any direct contact with Challenged Voters. Somerville Am. Resp.

and Obj. 2d Interrogs., Resp. No. 7; First Davis Tr. 171:4-21. They did not publish

the Davis/Somerville Challenge List publicly. Second Somerville Tr. 71:16-72:19;

72:21-73:14; Second Davis Tr. 46:3-14; 80:7-10. Volunteers submitted Challenges

to the appropriate government officials, based on the Davis/Somerville Challenge

List, independently from TTV. First Somerville Tr. 89:22-15; 97:22-99:19;


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Somerville Interrog. Resp. Ct. Order Resp. No. 1.

      It is an undisputed fact that neither Mr. Davis nor Mr. Somerville threatened

legal, economic, or physical harm to any of the Challenged Voters. It is an

undisputed fact that Mr. Davis and Mr. Somerville compiled the Davis/Somerville

Challenge List with care and with painstaking detail. Somerville Interrog. Resp.

Ct. Order Resp. No. 2; drive for Mr. Somerville to distribute to challengers.

Davis Interrog. Resp. Ct. Order Resp. No. 2; see also Part I.D.2.

      The allegations that Mr. Davis and Mr. Somerville “acted in concert with”

TTV are wholly unsupported by the record. Even if this Court finds their

independent work is relevant to Plaintiffs’ claims, nothing in the record supports

their allegations that Mr. Davis and Mr. Somerville violated § 11(b). Mr. Davis

and Mr. Somerville did not contact any Challenged Voter—they certainly did not

threaten legal, economic, or physical harm to any of the Challenged Voters. They

didn’t publicly post the Davis/Somerville Challenge List.

      Mr. Davis’ and Mr. Somerville’s conduct does not come anywhere close to

the reprehensible actions of others who have violated § 11(b). They carefully and

lawfully availed themselves of a process authorized by Georgia statute. Doing so


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is not an § 11(b) violation. and this Motion for Summary Judgment should be

granted, as to Mr. Davis and Mr. Somerville.

C.    Named Defendants did not have any contact with any Challenged Voter
      or with Fair Fight, and the § 11(b) violation claims are unsupported by
      any evidence.

      Mark Williams used his printing business to print TTV’s Challenges.

Williams Tr. 19:4-18; 21:11-22:15; Williams Resp. to First Interrogs. Resp. No. 1.

Ron Johnson helped to find other volunteers willing to submit TTV’s Challenges

in other counties. Johnson Resp. to First Interrogs. Resp. No. 5. James Cooper also

helped to find volunteers willing to submit TTV’s Challenges. Cooper Resp. to

First Interrogs. Resp. No. 5; Cooper Tr. 45:1-9; 50:13-22. TTV and Catherine

Engelbrecht, in her capacity as TTV’s President, worked with a team of data

analysts to compile the TTV Challenge List. See TTV Resp. to 2d Interrog. Resp.

No. 14. TTV also organized and submitted the Challenges in 65 Georgia counties,

on behalf of the volunteers who had authorized them to do so. TTV Am. Resp.

First RFP Resp. No. 2. TTV ran a voter integrity hotline, and turned any credible

incidents over to the proper authorities—but did not have reason to turn any

hotline calls over to Georgia authorities. TTV Tr. 68:16-69:7; 81:16-21;81:22-


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82:4; 82:18-21; 85:13-86:9; 93:17-95:3; TTV Am. Resp. 2d RFP Resp. No. 18.

TTV established a fund to provide a legal support for people who reported

information—the purpose of which was primarily to head off the chilling effect of

the threat of legal action against challengers or those with information. TTV Tr.

71:11-19, 71:22-72:1, 74:8-17, 75:5-18, 76:15-19; 316:3-12; 316:19-317:5. As

described above, Mark Davis and Derek Somerville worked on the

Davis/Somerville Challenge List independently and not in conjunction with TTV.

First Somerville Tr. 29:5-31:17;32:20-33:4;45:3-11;103:6-13; 157:7-15

Somerville Interrog. Resp. Ct. Order Resp. No. 1, 4; First Davis Tr. 38:22-39:14;

41:10-42:16; 46:12-47:10; Second Davis Tr. 95:4-9; Davis Interrog. Resp. Ct.

Order Resp. No. 1. At times, various Named Defendants made public statements in

general about issues surrounding voter integrity in Georgia—but none of those

statements called for physical violence or threatened harm to any Plaintiff. See,

e.g.,Second Somerville Tr. 75:1-84:10. At the most, these public statements called

into question what the authorities should do when people cast illegal ballots. See

id.

      The things all these Named Defendants have in common? None of them


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contacted Challenged Voters directly. None of them contacted Fair Fight. None of

them published Challenge Lists publicly. None of them threatened Challenged

Voters with any legal, economic, or physical harm. All of those commonalities are

undisputed in the record. Plaintiffs provided no evidence otherwise. This motion

for summary judgment should be granted because no Named Defendant had any

contact with a Challenged Voter or with Fair Fight, and the § 11(b) violation claim

is unsupported by any evidence showing otherwise.

D.    The voter challenges were not frivolous.

      1.    True the Vote’s data analysis was not frivolous.

      The starting point TTV utilized for its Challenge List was the U.S. Postal

Service National Change of Address (“NCOA”) data. OpSec Tr. 93:16-94:2. The

NCOA is used by thirty-six states in required list maintenance to trigger sending a

National Voting Rights Act (“NVRA”) “return card,” which is designed to

ascertain the putative voter’s current address and explains the procedures for

affirming residence. Husted v. A. Philip Randolf Inst., 138 S.Ct. 1833, 1839-40

(2018). The practice of using the NCOA data for this purpose was pronounced as

“undisputably lawful” by the United States Supreme Court. Id.


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       In addition to the usual CASS and DPV data hygiene for NCOA records,

OpSec, the contractor used by TTV for data analysis, refined the data for all the

counties2 in Georgia using proprietary algorithms to compare the addresses in the

registration file to other commercially available information to identify people

who had moved out of the registered county or lived outside Georgia, id. at 113:6-

17.3

       OpSec’s proprietary process sought to verify the identity of an individual

before considering residency by comparing to data gathered from a combination of

lists, id. at 96:3-11, including other state registrations and “five or six other data

sources.” Id. at 95:14-15;17-18; 96:12-1. It is designed to identify persons who

have deployed for military service, id. at 128:3-7; persons that, intending to move,

file an NCOA request and then change their mind, id. at 127:12-128:2; persons

that forward their mail because they were on vacation, id. at 126:22-127:5, 128:1-

       2
        See, e.g., TTV analyzed data for all 159 Georgia counties, with the
intention of submitting Challenges in every county in which they had a volunteer
Challenger. Because they did not get volunteers in all counties, TTV submitted
Challenges in only 65 counties. TTV Am. Resp. First RFP, Reps. No. 2.
       3
       In matching information from Georgia’s voter rolls and other data, OpSec
used fields that conformed with respect to data format and data type. Id. at 106:22-
107:3.

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2; persons that moved for non-military government service and submit an NCOA,

id. at 126:9-16, 128:1-2; persons submitting an address change for purposes of

attending school, id. at 125:17-19, 128:1-2; and persons that have moved inside

the county or jurisdiction in which they were registered, id. at 125:2.

      OpSec’s proprietary process utilized uses a 4000-row algorithm which

involved a complex series of other algorithms, such as dissimilarity and similarity

indexes and fuzzy logic. Id. at 107:13-108:4; 113:22-114:3. The process used

regression modeling throughout and includeds a process to identify the regression

technique most likely to produce an accurate result. Id. at 118:19-119:22.

      The process decided whether similar identifying information is sufficient to

assume an accurate identity, and if it is not, assigned a risk factor to it. Id. at

108:8-11. An algorithm evaluated flagged data, pulling information from outside

sources to resolve the risk, and if the question could not be resolved, a match

based on the information would not have been included. Id. at 116:12-16;119:16-

22; 119:16-22.

      OpSec reviewed the results of matching names in the voter files and the

NCOA registry to ensure that it was reasonable with respect to false positives and


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false negative to within one standard deviation of the potential error that might be

expected. Id. at 140:8-141:7.

      2.     Davis and Somerville data analysis was not frivolous.

      The Davis/Somerville Challenge List was not frivolous—Mr. Davis used his

extensive experience in working with data and mailing lists to compile the data for

the Davis/Somerville Challenge List. First Davis Tr. 21; Davis Interrog. Resp. Ct.

Order Resp. No. 2. Mr. Davis’ and Mr. Somerville’s data analysis included

running CASS & NCOA processing of voter-provided move status, geocoding to

verify move locations, and extensive work to remove military and student voters,

who they knew were likely to be eligible to vote. Id. Mr. Davis and Mr. Somerville

did not consider racial or any other demographic data when compiling the

Davis/Somerville Challenge List. First Davis Tr. 166:5-168:22; Second Somerville

Tr. 30:6-32:14; 188:4-22. Second Davis Tr. 40:19-41:5; 185:15-188:4.

      Research since the run-off election, which has been provided to the Georgia

Secretary of State, has confirmed that the Davis/Somerville Challenge List was far

from frivolous. Davis Interrog. Resp. Ct. Order Resp. No. 3. (“SOS Analysis”).

The SOS Analysis shows over 3,500 voters who had submitted changes of address


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outside the statutory grace period, cast ballots in their old county, and then

updated their voter registration to their new county after the run-off. Id. The SOS

Analysis showed that over 37% of the voters who indicated a change of address

within Georgia have updated their voter registration addresses to the same

addresses shown in the NCOA data provided to the USPS prior to the run-off

election. Id. These voters have provided post-election, self-confirmation to the

Secretary of State or their county’s board of elections that the information on the

Davis/Somerville Challenge List was accurate at the time they compiled it. Id.

      3.     Named Defendants did not based challenges upon racial or other
             demographic data.

      OpSec used no demographic information in processing the data or

compiling the Challenge List. OpSec Tr. 163:13-164:8; 149:14-17. After the List

was compiled, OpSec consulted a “TrueAppend” document as a quality check on

its results by looking at the overall number of moved provided in that report.4 The

TrueAppend report includes age and demographic information but no changes

were ever made to the Challenge List as a result of demographic information.

      4
       As recorded in the timestamp footer in the report, the earliest that OpSec
could have viewed it was on December 19, 2020. See TTV Tr. Exhibit 8 (also
marked OPSEC 0009-0029).

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OpSec Tr. 150:16-18, 151:13-16, 152:6-9; OpSec Tr. Exhibit 10. If demographic

or other characteristics of individuals on the Challenge List were ever considered

by OpSec or TTV, it was after and in response to Plaintiff’s suit. OpSec Tr.

163:13-164:8; 149:14-17.

   II. Judicial Enforcement of § 11(b) as sought to be applied by Plaintiffs,
                         would be unconstitutional.

      Judicial enforcement of private agreements amounts to state action, and as

such, is subject to constitutional limitations. Shelley v. Kraemer, 334 U.S. 1, 19

(1948). The same would be true for judicial enforcement of a private cause of

action permitted under federal law as here.

      Defendants’ § 230 Challenges involve their First Amendments rights to free

speech and petition, as well as their right to vote. Georgia law specifically

provides for the types of Challenges brought by Named Defendants, and the

Georgia legislature has since confirmed, via additional statutory language, that

“mass” Challenges are permitted under this law. O.C.G.A. § 21-2-230(a).

      If this Court were to adopt Plaintiffs’ interpretation of § 11(b) and find that

Named Defendants’ speech and conduct was encompassed by § 11(b), § 11(b)

would be rendered unconstitutional as applied on several grounds. First, § 11(b)

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would be unconstitutional as applied under the First Amendment since Named

Defendants’ speech does not contain true threats outside of First Amendment

protection and since Named Defendants’ § 230 Challenges are lawful actions to

petition the government. Second, § 11(b) would be unconstitutional as applied

under the First Amendment as violating Named Defendants’ right to vote. And

third, § 11(b) would be unconstitutional as applied under the Due Process Clause

of the Fourteenth Amendment since it would be rendered unconstitutionally

vague.

      Furthermore, the doctrine of constitutional avoidance provides that, “if an

otherwise acceptable construction of a statute would raise serious constitutional

problems, and where an alternative interpretation of the statute is fairly possible,

[courts] are obligated to construe the statute to avoid such problems.” I.N.S. v. St.

Cyr, 533 U.S. 289, 299–300 (2001). Pursuant to this cardinal principle of

constitutional avoidance, § 11(b) must be construed narrowly, to avoid

infringement upon those fundamental constitutional rights. This Court must hold

that without evidence of wrongdoing or illegality underlying the § 230 Challenges,

§ 11(b) must allow for Defendants’ right to challenge voters’ right to vote in a


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particular election, as allowed under Georgia law.

A.    Judicial enforcement of § 11(b), as sought to be applied by Plaintiffs,
      would violate their right to free speech under the First Amendment.

      Content-based restrictions on speech are subject to strict scrutiny, and a

court must “consider whether a regulation of speech on its face draws distinctions

based on the message a speaker conveys.” Reed v. Town of Gilbert, 576 U.S. 155,

163 (2015) (citation omitted). “Some facial distinctions based on a message are

obvious, defining regulated speech by particular subject matter, and others are

more subtle, defining regulated speech by its function or purpose. Both are

distinctions drawn based on the message a speaker conveys, and, therefore, are

subject to strict scrutiny.” Id. at 163-64. Whether the content of the speaker’s

message is threatening or intimidating to voters is specifically at issue in a claim

brought under § 11(b) and so this Court must use strict scrutiny to analyze these

claims. Id. at 163.

      The Supreme Court has defined narrow categories of speech which can be

prohibited based on content. Only the category of “true threats” is relevant here.

Watts v. United States, 394 U.S. 705, 708 (1969) (per curiam) (holding content-

based restrictions “must be interpreted with the commands of the First

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Amendment clearly in mind. What is a threat must be distinguished from what is

constitutionally protected speech.”). The Watts Court held that “political

hyperbole” is not a true threat, even when “crude,” “abusive, and inexact.” Watts,

394 U.S. at 708.

      The Eleventh Circuit adopted the same objective standard for true threats

that most other circuits employ— a true threat is a communication that, when

taken in context, “would have a reasonable tendency to create apprehension that

its originator will act according to its tenor.” United States v. Martinez, 736 F.3d

981, 986 (11th Cir. 2013), cert. granted, judgment vacated, 576 U.S. 1001 (2015)

(vacating on grounds unrelated to applying objective standard).

      As analyzed in Part I., in virtually all of the cases where violations of §

11(b), or laws similar to § 11(b), were found, the defendants communicated the

intimidating message, or acted in an intimidating manner, directly and specifically

to the voters themselves or to people attempting to register voters. The undisputed

facts cited in Part I show that it is undisputed that Challenged Voters were not the

direct “recipients” of any of the Named Defendants’ action, and those actions

could not meet the definition of true threat anyway.


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      Named Defendants’ actions do not meet the Eleventh Circuit’s objective test

for true threats. Therefore, the speech surrounding the § 230 Challenges submitted

by Named Defendants do not lose the First Amendment protection and penalizing

such speech under § 11(b) would render § 11(b) unconstitutional as applied.

B.    Judicial enforcement of § 11(b), as sought to be applied by Plaintiffs,
      would violate their right to petition under the First Amendment.

      Furthermore, Named Defendants’ § 230 Challenges are quintessential

petitions to the government to address grievances and are also protected under the

First Amendment. Because First Amendment freedoms need breathing space to

survive, government may regulate in the area only with narrow specificity.

Cantwell v. Connecticut, 310 U.S. 296, 311 (1940). Without evidence that a

petition was made with some sort of “wrongfulness,” a petition to the government

is constitutionally protected. Bill Johnson's Restaurants, Inc. v. NLRB, 461 U.S.

731, 743 (1983) (finding no protection against consequences for bringing

“baseless litigation.”). But the Constitution does specifically “protect[ ] vigorous

advocacy, certainly of lawful ends, against government intrusion.” Nat’l Ass’n for

Advancement of Colored People v. Button, 371 U.S. 415, 429 (1963) (emphasis

added).

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      Like the NAACP in Button, Defendants here are advocating lawful means

of vindicating their legal rights. Enjoining Defendants’ lawful § 230

Challenges—which were brought in almost every Georgian county without regard

to the county’s racial or political demographics—would prohibit constitutionally

protected activity without any of the narrowing required for such infringement and

render § 11(b) unconstitutional as applied.

C.    Judicial enforcement of § 11(b), as sought to be applied by Plaintiffs,
      unconstitutionally violates defendants’ right to vote via vote dilution.

      The right to vote is certainly fundamental, but included within the right to

vote is the principle that valid and eligible votes should not be diluted by unlawful

votes. Bush v. Gore, 531 U.S. 98, 105 (2000); see also Reynolds v. Sims, 377 U.S.

533, 555 (1964). Defendants’ § 230 Challenges sought to prevent vote dilution by

ensuring that all the people listed as eligible voters were legally eligible to cast

votes. Because of these strong First Amendment protections, enforcing § 11(b), as

sought to be applied by Plaintiffs unconstitutionally violates Named Defendants’s

right to vote via vote dilution.




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D.    Judicial Enforcement of § 11(b), as sought to be applied by Plaintiffs, is
      unconstitutionally vague.

      A statute or regulation is considered unconstitutionally vague under the due

process clause of the Fifth or Fourteenth Amendments if it “forbids or requires the

doing of an act in terms so vague that men of common intelligence must

necessarily guess at its meaning and differ as to its application.” Georgia Pac.

Corp. v. Occupational Safety & Health Review Comm’n, 25 F.3d 999, 1005 (11th

Cir. 1994).

      The undisputed facts show Named Defendants did not have any contact

with a Challenged Voter, nor did they threaten legal, economic, or physical harm

to any Challenged Voter (through either the § 230 Challenges, the support fund, or

the voter integrity hotline). It stands to reason, if the Named Defendants are found

liable here, it would have to be on the basis of bringing “mass” § 230 Challenges.

But that would sweep constitutionally protected activity into the definitions of

harassment and intimidation without any attempt to specifically narrow or define

what kinds of § 230 Challenges would fall outside of that protection. How many

§ 230 Challenges would a voter in Georgia be able to bring without running the

risk of liability under § 11(b)? One? Ten? Twenty? If Named Defendants are

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found liable under § 11(b) because they brought “mass” challenges—even though

the Georgia legislature has made it clear the number of § 230 Challenges a voter

may bring is not limited—no “man of common intelligence” in Georgia would

know which, or how many, voter challenges allowed under Georgia law, would be

considered a violation of § 11(b). Such a finding by this Court would chill

Georgians’ First Amendment activity out of the fear of liability and confusion over

exactly what petitions to government would be permitted under such a holding. As

a result, § 11(b) would be rendered unconstitutionally vague.

 III. Named Defendants’ § 230 Challenges did not violate the National Voter
                            Registration Act.

      The NVRA generally applies to state election officials in regards to voter

registration list maintenance. See 52 U.S.C. § 20501, et seq. Plaintiffs here have

not brought an NVRA claim against Named Defendants—nor could they, since

they provided no written notice to the chief election official of Georgia.

Id. at § 20510(b)(1). However, they use an alleged violation of the NVRA as a

proxy argument for an § 11(b) violation. That argument is without merit.

      The Eleventh Circuit has not handed down controlling authority on whether

the types of § 230 Challenges Named Defendants submitted are pre-empted by the

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NVRA. A district court did enjoin Muscogee County election officials from

“upholding a challenge to any voter’s eligibility solely on the basis of information

in the NCOA registry.” Majority Forward v. Ben Hill Cnty. Bd. of Elections, 512

F. Supp. 3d 1354, 1375 (M.D. Ga. 2021). Even if that were controlling law, which

it isn’t, it doesn’t apply here and does not implicate an § 11(b) violation.

      First, it is an undisputed fact that neither TTV’s Challenges nor the

Challenges based upon the Davis/Somerville Challenge List were based solely on

information in the NCOA registry. TTV, Mr. Davis, and Mr. Somerville did start

with data from the NCOA when compiling their Challenge Lists, but they certainly

didn’t end there. See Part I.D.1, 2. They performed other data analysis on these

lists, using a variety of commercial and proprietary processes. Id. Even if this

Court agrees that the NVRA pre-empts the types of § 230 Challenges the Named

Defendants submitted before the run-off election, there was no controlling legal

authority so holding at the time they submitted them.

      Second, even if this Court agrees that the Named Defendants’ § 230

Challenges were pre-empted by the NVRA, that does not equate to an § 11(b)

violation. It is undisputed that Named Defendants submitted the § 230 Challenges


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to county officials as is their right under the First Amendment and Georgia law.

TTV Tr. 257:11-14; Second Somerville Tr. 71:16-72:19; 72:21-73:14; Second

Davis Tr. 46:3-14; 80:7-10. It is undisputed that Named Defendants had no direct

contact with Challenged Voters regarding the Challenges. TTV Resp. to First

Rogs. No. 5; Somerville Am. Resp. and Obj. 2d Interrogs., Resp. No. 7; First

Davis Tr. 171:4-21; Williams Tr. 63:2-64:1; Johnson Resp. to First Interrogs.

Resp. No. 5; Cooper Resp. to First Interrogs. Resp. No. 5; Cooper Tr. 45:1-9;

50:13-22. It is undisputed that Named Defendants never threatened legal,

economic, or physical harm to any of the Challenged Voters. See id.

      Because no controlling legal authority prohibited the types of § 230

Challenges Named Defendants submitted prior to their submission, and because

the plain statutory language permits these types of § 230 Challenges, Named

Defendants did not act unlawfully when submitting the § 230 Challenges prior to

the run-off election. Further, because Named Defendants did not engage in any

behavior that comports with the type of behaviors that have been § 11(b)

violations, submitting these lawful § 230 Challenges cannot support Plaintiffs’

claims.


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                                    Conclusion

      Because the undisputed material facts show that Named Defendants

engaged in constitutionally-protected conduct that did not violate § 11(b), this

motion for summary judgment should be granted.




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Dated: May 16, 2022                      Respectfully Submitted,

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                        Certificate of Compliance

      The undersigned counsel certifies that the foregoing has been prepared in

Times New Roman (14 point) font, as required by the Court in Local Rule 5.1(B).

      Respectfully submitted on May 16, 2022



                                     /s/ James Bopp, Jr.
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